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- Exhibit 52
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

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In Re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

Plaintiff,
Case No.
07-5944 Sea
MDL No. 1917

This Document Relates to:

ALL ACTIONS,

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VIDEOTAPED DEPOSITION OF GLORIA COMEAUX

MONDAY, OCTOBER 15, 2012

REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR

GLORIA COMEAUX

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Q. And why did you want to represent the
people of Nevada?

A. Because they are probably shocked like I
am, not knowing about what's going on.

Q. And what do you mean by "what's going on"?

A. Because, like, I have a lot of friends
that bought TVs during that time, and --

Q. Uh-huh.

A. -- they was thinking they was getting a
good deal, too, like I did.

Q. | Uh-huh.

A. And then come to find out later from my
lawyer, we really wasn't getting a good deal.

Q. Uh-huh. And what do you mean by you
weren't getting a good deal?

A. Because I am thinking because I bought it
on sale that, you know, this is a really great
deal.

Q. And now you don't think that you did, you
got a good deal; is that right?

A. Not from understanding from my lawyers, I
didn't.

Q. Okay. And without going into the content

of what your lawyers told you, because that's

privileged, why don't you think you got a good deal

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Q. Okay. When you bought your television,
was the manufacturer of the CRT inside the
television important to you, knowing who that is?

A. At that particular time?

QO. Yeah.

A. I didn't know.

Q. Okay. You didn't know who manufactured
the CRT inside the Sanyo television?

A. No.

QO. Okay. Do you know who the manufacturer of
the CRT is now?

A. No.

Q. Is it Sanyo, do you know?

A. No, only what my lawyer tell me.

Q. So you didn't think about who made the CRT
inside the television when you were purchasing the
TV, right?

A. No.

Q. Okay. Was the fact that the TV had a CRT
inside it, was that fact important to you when you
bought the television?

A. No.

Q. Okay. Did you think about purchasing

televisions with different technologies, like an

LCD or a plasma TV, when you bought the television?

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A. Because my lawyer said so.
Q. Do you have any understanding about why

Sanyo is a defendant in this case other than what

your lawyer told you?

A. No.

Q. Do you allege in your complaint that Sanyo
wrongfully fixed the prices of televisions?

AL Say that to me again, please.

QO. Sure. I'll rephrase it.

Do you allege in your complaint in this.
case -- you're the -- you're one of the plaintiffs,
correct?

A. Yes.

Q. So do you allege in your complaint that
Sanyo engaged in price-fixing on the -- on this
television that they -- that you purchased?

A. That's what my lawyer said.

QO. Okay. So would you agree with me that if

Sanyo, who manufactured the TV, if they did not
participate in the conspiracy described in your

complaint, then you don't have a claim, would you

agree with that?

MR. PAPALE: I am going to have to object
to that question. That calls for legal
speculation. This -- and it lacks foundation.

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There's no indication that this witness
wrote the complaint or drafted any of the
allegations in the complaint. And you're asking
for a legal conclusion that's based upon a document
that this witness did not draft.

So my objection is there's no foundation,
calls for a legal conclusion.

Q. BY MR. FOSTER: Can you answer the

question, Ms. Comeaux?

A. Will you repeat that question? I'm sorry.
Q. Yes, ma'am.
Would you agree that if Sanyo, the -- who

manufactured the TV that you're claiming damages
for, if they did not participate in the conspiracy
that's alleged in the complaint in this case, then

you personally don't have a claim?

A. If they didn't participate in this?
Q. Right. .

A. I guess not.

Q. Okay. And if you look back at the

picture, Ms. Comeaux, it looks like under where it

says "Sanyo Manufacturing Corp," there's an address

there, "3333 Sanyo Road, Forrest City, Arkansas."
Do you see that?

A. Yes.

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